                 Case 4:23-cr-00084-SMR-WPK Document 36 Filed 10/12/23 Page 1 of 1
                            United States District Court for the Southern District of Iowa

Presiding: Honorable William P. Kelly, U.S. Magistrate Judge
Criminal No. 4:23-cr-00084-SMR-WPK-1 :                                                             Clerk’s Court Minutes – Plea
_______________________________________________________________________________________________________________________________________

United States of America                               :      Gov. Atty(s): Jason T. Griess supervising Connor Green
       vs.                                             :      Def. Atty(s): Mackenzi Nash
                                                       :      Court Reporter: Brenda Fauber
Ryan Christopher Kelly
                                                       :      Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Date: October 12, 2023                                 :      ✔ Indictment   Superseding Indictment                  Information
Time Start: 3:30 PM                                    :        In 2 Count(s) – Code Violation:
Time End: 3:58 PM                                      :         18:875(c) Interstate Communication of a Threat
___________________________________________________________
                                                                 (1)
   Certified/Language Skilled interpreter sworn
 ✔ Consent to magistrate accepted
 ✔ Defendant sworn
 ✔ Defendant advised of potential perjury charges                 Defendant plea of guilty to Count(s): 1
 ✔ Plea agreement filed/to be filed                          Court findings:
      ✔ Defendant understands                             ✔ Factual basis ✔ Voluntariness ✔ Competency to Plea
      ✔ Defendant agrees                                  ✔ Court will file a Report and Recommendation that the
      There is no plea agreement to file                     defendant's plea be accepted as of the date of this
 ✔ Defendant advised of nature of charges
                                                             hearing
 ✔ Defendant advised of elements                           ✔ Counsel informed they have 14 days to file any
 ✔ Defendant satisfied with attorney                         objection to Report and Recommendation
 ✔ Defendant advised of penalties                            Court accepts plea
   ✔ Maximum fine/incarceration                              Court rejects plea
     Mandatory minimum fine/incarceration                    Offense Conduct Statement due: To be set by further order
     Forfeiture/restitution                                  PSR to be disclosed to counsel: To be set by further order
   ✔ Supervised release                                      Objections to PSR due: To be set by further order
      ✔ Maximum                                              Applicability of advisory guideline
         Mandatory minimum                                   to the Court due: 10 days before sentencing
   ✔ Mandatory Special Assessment                            Sentencing date: February 8, 2024 at 10:00 AM
 ✔ No promises made regarding sentence                                Before: The Honorable Stephanie M. Rose
 ✔ Defendant advised of sentencing guidelines                               In: Des Moines Courthouse Rm: 145
 ✔ Defendant waives rights to jury trial                       Custody  status:
 ✔ Defendant advised of right to persist in not guilty plea ✔ Detention
                                                                Bond
_______________________________________________________________________________________________________________________________________
  Additional Information:




                                                                            /s/ P. Luthens
                                                                            _______________________________________
                                                                            Deputy Clerk
